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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

KIPP FLORES ARCHITECTS, LLC,    §
                                §
          Plaintiff,            §
                                §
vs.                             §                           CIVIL ACTION NO. 4:14-cv-02702
                                §
MID-CONTINENT CASUALTY COMPANY, §
                                §
          Defendant.            §

           MEMORANDUM AND RECOMMENDATION ON DEFENDANT’S
                        MOTION TO DISMISS

       This matter was referred by United States District Judge Vanessa D. Gilmore, for full

pre-trial management, pursuant to 28 U.S.C. § 636(b)(1)(A) and (B). (Docket Entry No. 9). In

this breach of contract action, Plaintiff Kipp Flores Architects, LLC (“KFA”) seeks to recover, as

a judgment creditor, from Defendant Mid-Continent Casualty Company (“Mid-Continent”).

(Plaintiff’s Complaint [“Complaint”], Docket Entry No. 1). Before the court is Defendant’s

motion to dismiss, pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6).

(Defendant’s Rule 12(b) Motion to Dismiss [“Motion”], Docket Entry No. 6). Plaintiff filed a

response in opposition to the motion, to which Defendant has replied. (Plaintiff’s Response to

Defendant’s Rule 12(b) Motion to Dismiss [“Response”], Docket Entry No. 10; Defendant’s

Reply in Support of Rule 12(b) Motion to Dismiss [“Reply”], Docket Entry No. 11). After

considering the pleadings, the evidence submitted, and the applicable law, it is

RECOMMENDED that Defendant’s motion be GRANTED.
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I. Background

         Plaintiff KFA is an architectural firm that creates and markets home designs. (Compl. 2 ¶

5).   Beginning in 2003, KFA entered into a series of licensing agreements with a Texas

homebuilder, Hallmark Collection of Homes, LLC (“Hallmark Collection”).1 (Id. at 5 ¶ 18).

Pursuant to those agreements, KFA created and delivered architectural designs for Hallmark

Collection’s use in the construction of its model homes. (Id. at 5 ¶ 20). Each design included a

license, which allowed Hallmark Collection to build one house only from that architectural plan.

(Id.). For that reason, the agreements obligated Hallmark Collection to compensate KFA each

time it constructed any additional house that was based on a KFA design. (Id. at 5-6 ¶ 21). KFA

alleges, however, that Hallmark Collection continued to use its designs to build and sell hundreds

of houses, without paying it for the right to do so. (Id. at 5 ¶ 20).

         In March 2009, KFA filed a copyright infringement lawsuit (the “KFA Lawsuit” or the

“Underlying Action”), in the Southern District of Texas, against Hallmark Collection, its limited

partnership, Hallmark Design Homes, L.P. (“Hallmark Design”), and an individual owner of

Hallmark Collection, Joe Partain.2 Kipp Flores Architects, LLC v. Hallmark Design Homes,

L.P., No. 4:09-cv-00850. Eight months into that lawsuit, on November 16, 2009, Hallmark

Collection filed for Chapter 7 bankruptcy protection. In re Hallmark Collection of Homes, LLC,

No. 4:09-bk-38715. On November 23, 2009, the district court entered an order staying and

administratively closing the Underlying Action against Hallmark Collection, pending resolution

1 Hallmark Collection was formerly known as Hallmark Design of Homes, LLC. (Compl. 2 ¶ 6). Pursuant to Articles
of Amendment filed with the Texas Secretary of State on July 28, 2004, the corporation changed its name to
Hallmark Collection of Homes, LLC. (Id.; Resp. Ex. 1.A). For the sake of clarity, references will be to the
corporation, as “Hallmark Collection.”

2 KFA’s complaint alleged, among other things, that the defendants “created, published[,] and used non‐pictorial
depictions of structures based on KFA’s Copyrighted Works in promotional and advertising material . . . [and]
published and used these infringing materials in the course of advertising their infringing structures.” (Resp. Ex.
1.B at 10 ¶ 15).
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of the bankruptcy proceeding. Order Staying and Partially Administratively Closing Case, Kipp

Flores, No. 4:09-cv-00850, Docket Entry No. 26.                   The KFA Lawsuit continued, however,

against the remaining individual defendant, Joe Partain. (Compl. 7 ¶ 26).

        Mid-Continent, Defendant here, had issued a series of commercial general liability

policies to the defendants in the KFA Lawsuit. (Compl. 3-4 ¶ 11; see Mot. Ex. 7-12). Those

policies covered a period from May 2003 to January 2009: 04-GL-000522268 (effective

05/28/03 to 05/28/04); 04-GL-000548825 (effective 05/28/04 to 05/28/05); 04-GL-000590609

(effective 05/28/05 to 05/28/06); 04-GL-000632756 (effective 05/28/06 to 05/28/07); 04-GL-

000675359 (effective 05/28/07 to 05/28/08); and 04-GL-000717323 (effective 05/28/08 to

05/28/09) (collectively, the “Mid-Continent Policies”). (Id.). The first policy listed Hallmark

Collection as the sole named insured.3 (Compl. 4 ¶ 12; see Mot. Ex. 7). All five of the

subsequent policies identified both Hallmark Collection and Hallmark Design as named

insureds.4 (Compl. 4 ¶¶ 13-14; see Mot. Ex. 8-12). Each of the policies contained similar

language and provided coverage for “personal and advertising injury,” including any injury that

arises out of “infringing upon another’s copyright, trade dress or slogan in your ‘advertisement.’”

        The Mid-Continent Policies also imposed explicit notice of suit requirements on the

insureds. Each of the policies provided, in relevant part: “If a claim is made or ‘suit’ is brought

against any insured, you must . . . see to it that we receive written notice . . . as soon as

practicable. . . . You and any other involved insured must . . . [i]mmediately send us copies of

any demands, notices, summonses or legal papers received in connection with the claim or


3 The first policy was issued to Hallmark Collection under its former name. (Compl. 4 ¶ 12; see Mot. Ex. 7).

4 The second policy included a “General Change Endorsement,” effective October 22, 2004. (Compl. 4 ¶ 13; Mot.
Ex. 8 at 48). The “General Change Endorsement” designated Hallmark Design as the “Named Insured” and
Hallmark Collection as the “Extended Named Insured.” However, a supplemental declaration identifies both
entities as a “Named Insured.” (See Mot. Ex. 8 at 48, 50).
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‘suit.’” (Mot. Ex. 7 at 20). The term “you” is defined as “the Named Insured shown in the

Declarations, and any other person or organization qualifying as a Named Insured under this

policy.” (Id. at 10).

       It is undisputed that Mid-Continent did not receive any notice of the KFA Lawsuit until

six weeks after Hallmark Collection had filed for bankruptcy protection. (Compl. 7 ¶ 27; Mot. 3

¶ 3, Ex. 1). That initial notice, by letter dated December 31, 2009, came from the law firm of

Adair & Myers, which was acting on behalf of Joe Partain. In the notification letter, the firm

informed Mid-Continent of the KFA Lawsuit, provided a copy of the complaint, and requested a

defense for Partain in the pending litigation. (Id.). The letter stated, in relevant part:

       We have recently been retained by Joe Partain, a defendant in the [KFA Lawsuit].
   The purpose of this letter is to notify you of an ‘occurrence’ under Section IV, Paragraph
   2 (a-c) of [Policy Nos. 04-GL-000717323 and 04-GL-000675359] and any other policies
   that may have been in effect during the period of the “occurrence[]”. . . . We request that
   you authorize defense of this suit using the insured’s selected undersigned counsel.

(Mot. Ex. 1).

Although the underlying complaint identified all three defendants in the KFA Lawsuit, the law

firm’s letter did not mention Hallmark Collection, or make any reference to that entity’s

bankruptcy proceeding. (Compl. 7 ¶ 27; see Mot. Ex. 1).

       On January 25, 2010, Mid-Continent responded to the notice with a “reservation of

rights” letter. (Compl. 8 ¶ 28; Mot. 3 ¶ 4, Ex. 3). Mid-Continent addressed the letter to “Mr. Joe

B. Partain,” and it identified Hallmark Design as the “Insured” in the heading. (Mot. Ex. 3 at 1).

In that letter, Mid-Continent “acknowledge[d] receipt of your tender for coverage along with the

original complaint filed in the [KFA Lawsuit].”          (Id.). The insurer represented that it had

“conducted a thorough review of th[e] lawsuit,” and it had identified five policies “that may be

applicable to this litigation.” (Id. at 1-2). The letter explained that the “Who Is An Insured”

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section of the applicable policies “w[ould] apply as to [its] defense obligations as to the named

defendants in this litigation.” (Id. at 4-5). Mid-Continent concluded the letter by stating that

“the above analysis constitutes our best effort to inform Hallmark Design [] of all factors of

which we are currently aware that may affect our ultimate responsibility to provide coverage to

Hallmark Design [] for the damages sought by the plaintiff in this lawsuit.”                     (Id. at 6).

         On April 6, 2010, KFA filed a $63,471,000 proof of claim, based on “copyright

infringement,” in the Hallmark Collection bankruptcy action. (Compl. 9 ¶ 31; Resp. Ex. 1.B at

1, Ex. 1.C at 7). In support of this claim, Plaintiff attached a copy of the complaint from the

Underlying Action, as well as a three-page document entitled “Explanation and Synopsis of Kipp

Flores Architect’s Proof of Claim.” (Resp. Ex. 1.B at 2-13). In that document, Plaintiff provided

a calculation of the total claim amount “[b]ased on the deposition testimony of Mr. Partain in the

[KFA] Lawsuit.” (Id. at 2-4). No objections were filed to KFA’s proof of claim. (Compl. 12 ¶

39; see Resp. Ex. 1.D). A few months later, on August 17, 2010, the Chapter 7 Trustee in the

Hallmark Collection bankruptcy filed a “no asset report,” stating that there were no proceeds

from the estate for distribution to creditors. (Resp. Ex. 1.D at 4). Following this, the Hallmark

Collection bankruptcy case was closed, on September 21, 2010.                      (Resp. Ex. 1.E).

         In the interim, on June 17, 2010, Adair & Myers sent Mid-Continent a second notice

letter, on behalf of two newly-added defendants to the KFA Lawsuit.5 (Compl. 10 ¶ 35; Mot. 3 ¶

3, Ex. 2). Attached to that notice letter was a copy of the amended complaint from the KFA


5 Nearly identical to the first notification letter, the June 17, 2010 letter stated the following:
      We have recently been retained by Laura Partain and Bill Graper, newly‐added defendants in the
    [KFA Lawsuit]. The purpose of this letter is to notify you of an ‘occurrence’ under Section IV,
    Paragraph 2 (a‐c) of [Policy Nos. 04‐GL‐00548825, 04‐GL‐000590609, 04‐GL‐000632756, 04‐GL‐
    000717323, and 04‐GL‐000675359] and any other policies that may have been in effect during the
    period of the “occurrence[]”. . . . We request that you authorize defense of this suit using the
    insureds’ selected undersigned counsel.

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Lawsuit. (Compl. 10 ¶ 35; see Mot. Ex. 2). While the amended complaint identified Hallmark

Collection as a defendant in the KFA Lawsuit, and referenced the bankruptcy filing,6 the second

notice letter did not mention Hallmark Collection, at all. (Compl. 10 ¶ 35; see Mot. Ex. 2).

         The insurer responded to the second notice letter with another reservation of rights letter,

dated July 7, 2010.7 (Compl. 11 ¶ 36; Resp. Ex. 4). Mid-Continent sent that letter to three of the

defendants in the Underlying Action, Joe Partain, Laura Partain, and Bill Graper. (Resp. Ex. 4 at

1). Once again, in the heading, Hallmark Design was identified as the “Insured.” (Id.). The

second reservation of rights letter contained identical language to that of the first letter from the

insurer.8 (See Mot. Ex. 3; Resp. Ex. 4). Neither the January 25, 2010 reservation of rights letter,

nor the July 7, 2010 reservation of rights letter mentioned Hallmark Collection. (Id.).

         On February 10, 2014, KFA sent Mid-Continent a presentment letter, reporting that it had

obtained a $63,471,000 “final judgment” against Hallmark Collection in the bankruptcy court.

(Compl. 13 ¶ 43; Resp. Ex. 1). Plaintiff insisted that, as Hallmark Collection’s insurer, “Mid-

Continent [wa]s obligated to pay this final judgment,” under the terms of the insurance policies.

(Resp. Ex. 1 at 2). In the concluding paragraph of that letter, KFA demanded payment of

$6,000,000 within thirty days. (Id.). Defendant reportedly denied Plaintiff’s request on March

12, 2014. (Compl. 13 ¶ 43).


6 The amended complaint provided, in relevant part: "Hallmark Collection has filed a petition under 11 U.S.C.
Chapter 7, Case No. 09‐38715 in the United States Bankruptcy Court for the Southern District of Texas, Houston
Division. Pursuant to 11 U.S.C. § 362, all of plaintiff’s claims in this case against Hallmark Collection are stayed.”
First Amended Complaint at 4 ¶ 3, Kipp Flores Architects, LLC v. Hallmark Design Homes, L.P., No. 4:09‐cv‐00850,
Docket Entry No. 41.

7 In its motion, Defendant insists that it responded to the June 17 Letter in a different letter, dated July 23, 2010.
(Mot. 3 ¶ 4, Ex. 3). In a previous lawsuit, however, Mid‐Continent identified the July 7 Letter as its second
reservation of rights letter. (See Resp. Ex. 4). The court resolves this factual dispute in favor of KFA. See Krim v.
pcOrder.com, Inc., 402 F.3d 489, 494 (5th Cir. 2005).

8 However, in the second reservation of rights letter, Mid‐Continent stated that its defense obligations would
apply to the “named insureds,” as opposed to the “named defendants.” (See Mot. Ex. 3 at 5; Resp. Ex. 4 at 5).
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         On September 19, 2014, KFA filed this breach of contract action against Mid-Continent,

claiming to be a “judgment creditor of Hallmark Collection and [a] third[-]party beneficiary

under the Mid-Continent [P]olicies.” 9 (Compl. 13-14 ¶¶ 45-51). According to Plaintiff, “KFA’s

Proof of Claim, which is now a final judgment, established that Hallmark Collection infringed

KFA’s copyrights during the term of each of the foregoing insurance policy contracts.” (Compl.

12 ¶ 42). Plaintiff contends that “Mid-Continent has denied its obligations and has failed and

refused to provide KFA with indemnification under the Mid-Continent policies.” (Id. at 13 ¶

44). KFA argues further that “[a]s a judgment creditor of Hallmark Collection, KFA has all of

the rights against Mid-Continent that Hallmark Collection has under the Mid-Continent

policies.” (Id. at 12 ¶ 41).

         Defendant now moves to dismiss the Complaint, under Rules 12(b)(1) and 12(b)(6),

arguing that Plaintiff lacks standing to bring this action, and, alternatively, that KFA has failed to

state a claim on which relief can be granted. (Mot. 1-2 ¶ 1).

II. Standard of Review

         Federal Rule of Civil Procedure 12(b)(1) authorizes the dismissal of an action if the court

lacks subject matter jurisdiction. Fed. R. Civ. P. 12(b)(1). “A case is properly dismissed for lack

of subject matter jurisdiction when the court lacks the statutory or constitutional power to

adjudicate the case.” Krim v. pcOrder.com, Inc., 402 F.3d 489, 494 (5th Cir. 2005) (quoting

Home Builders Ass’n of Miss., Inc. v. City of Madison, 143 F.3d 1006, 1010 (5th Cir. 1998)).


9 In its complaint, KFA refers to itself as both a “judgment creditor” and a “third‐ party beneficiary.” (Compl. 14 ¶
50). Under Texas law, “an entity becomes a third‐party beneficiary to an insurance contract when it obtains a
judgment against the insured; at that time, the entity becomes a third‐party judgment creditor.” Debes v. Gen.
Star Indem. Co., No. 09‐12‐00527‐CV, 2014 WL 3384679, at *9 (Tex. App.—Beaumont 2014, no writ) (quoting P.G.
Bell Co. v. U.S. Fid. & Guar. Co., 853 S.W.2d 187, 189 (Tex. App.—Corpus Christi 1993, no writ)); see Standard Fire
Ins. Co. v. Sassin, 894 F. Supp. 1023, 1027 (N.D. Tex. 1995) (noting that a judgment creditor of an insured is
considered to be a third‐party beneficiary of the insured’s policy). For the sake of clarity, all references will be
made to KFA as an alleged “judgment creditor.”
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“The burden of proof for a Rule 12(b)(1) motion to dismiss is on the party asserting jurisdiction.”

Alfonso v. United States, 752 F.3d 622, 625 (5th Cir. 2014) (quoting In re FEMA Trailer

Formaldehyde Prods. Liab. Litig., 646 F.3d 185, 189 (5th Cir. 2011)). In reviewing a Rule

12(b)(1) motion, the court may rely on any of the following to decide the matter: “(1) the

complaint alone; (2) the complaint supplemented by undisputed facts evidenced in the record; or

(3) the complaint supplemented by undisputed facts plus the court’s resolution of disputed facts.”

Spotts v. United States, 613 F.3d 559, 565-66 (5th Cir. 2010).

       “Rule 12(b)(1) challenges to subject matter jurisdiction come in two forms: ‘facial’

attacks and ‘factual’ attacks.” A.W. v. Humble Ind. Sch. Dist., 25 F. Supp. 3d 973, 981 (S.D.

Tex. 2014) (citing Paterson v. Weinberger, 644 F.2d 521, 523 (5th Cir. 1981)). If, as in the

present case, a defendant raises a “factual attack” on the court’s subject matter jurisdiction, the

court may consider any evidence submitted by the parties that is relevant to the issue of

jurisdiction. Gilkerson v. Chasewood Bank, 1 F. Supp. 3d 570, 578 (S.D. Tex. 2014) (citing

Irwin v. Veterans Admin., 874 F.2d 1092, 1096 (5th Cir. 1989)); see Paterson v. Weinberger, 644

F.2d 521, 523 (5th Cir. 1981)). A defendant making a factual attack on a complaint may provide

supporting affidavits, testimony, or other admissible evidence. Id. The plaintiff, to satisfy its

burden of proof, may also submit evidence to show by a preponderance of the evidence that

subject matter jurisdiction exists. Id. “The court’s consideration of such matters outside the

pleadings does not convert the motion to one for summary judgment under Rule 56(c).” Turner

Indus. Group, LLC v. Int’l Union of Operating Eng’rs, 8 F. Supp. 3d 875, 884 (S.D. Tex. 2014).

In resolving a factual attack, the “court is free to weigh the evidence and satisfy itself as to the

existence of its power to hear the case.” Gilkerson, 1 F. Supp. 3d at 578 (quoting Evans v.

Tubbe, 657 F.2d 661, 663 (5th Cir. 1981)). Further, “no presumptive truthfulness attaches to the

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plaintiff’s allegations, and the existence of disputed material facts will not preclude the trial court

from evaluating for itself the merits of jurisdictional claims.” In re The Complaint of RLB

Contracting, Inc., --- F.3d ----, 2014 WL 6865875, at *3 n. 7 (5th Cir. 2014) (quoting Williamson

v. Tucker, 645 F.2d 404, 413 (5th Cir. 1981)).

       In this case, Defendant has made a “factual attack” to the court’s subject matter

jurisdiction, by submitting evidentiary materials with its Rule 12(b)(1) motion. For that reason,

in weighing the motion, the entire record will be considered, and any disputed jurisdictional facts

will be resolved, as necessary.

       Federal Rule of Civil Procedure 12(b)(6) authorizes the dismissal of a complaint for

“failure to state a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). In

reviewing a Rule 12(b)(6) motion, the court must accept all well-pleaded facts in the complaint

as true and view them in the light most favorable to the plaintiff. Spectrum Stores, Inc. v. Citgo

Petroleum Corp., 632 F.3d 938, 948 (5th Cir. 2011) (quoting Lane v. Halliburton, 529 F.3d 548,

557 (5th Cir. 2008)). In ruling on such a motion, the court cannot look beyond the pleadings.

Hall v. Hodgkins, 305 F. App’x 224, 227 (5th Cir. 2008) (citing Cinel v. Connick, 15 F.3d 1338,

1341 (5th Cir. 1994)). “To survive dismissal, a plaintiff must plead ‘enough facts to state a claim

to relief that is plausible on its face.’” Thompson v. City of Waco, 764 F.3d 500, 503 (5th Cir.

2014) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009). “The plausibility standard is not akin to a ‘probability requirement,’ but asks

for more than a sheer possibility that a defendant has acted unlawfully.” Id. (quoting Twombly,

550 U.S. at 556); see also Twombly, 550 U.S. at 555 (“Factual allegations must be enough to

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raise a right to relief above the speculative level.”). “[W]here the well-pleaded facts do not

permit the court to infer more than the mere possibility of misconduct, the complaint has

alleged—but it has not ‘shown’—‘that the pleader is entitled to relief.’” Iqbal, 556 U.S. at 679

(alteration omitted) (quoting Fed. R. Civ. P. 8(a)(2)). “Threadbare recitals of the elements of a

cause of action, supported by mere conclusory statements, do not suffice.” Id. at 678.

       “When a Rule 12(b)(1) motion is filed in conjunction with other Rule 12 motions, the

court should consider the Rule 12(b)(1) jurisdictional attack before addressing any attack on the

merits.” Morris v. Livingston, 739 F.3d 740, 745 (5th Cir. 2014) (quoting Randall D. Wolcott,

M.D., P.A. v. Sebelius, 635 F.3d 757, 762 (5th Cir. 2011)). Further, if a complaint could be

dismissed for both lack of jurisdiction and for failure to state a claim, “the court should dismiss

only on the jurisdictional ground under Rule 12(b)(1), without reaching the question of failure to

state a claim under Rule 12(b)(6).” Crenshaw-Logal v. City of Abilene, 436 F. App’x 306, 308

(5th Cir. 2011) (quoting Hitt v. City of Pasadena, 561 F.2d 606, 608 (5th Cir. 1977)). This

approach “prevents [a] court[] without jurisdiction ‘from prematurely dismissing a case with

prejudice.’” Id. (quoting Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001)).

       In this case, Mid-Continent has filed motions to dismiss under both Rule 12(b)(1) and

Rule 12(b)(6), so the Rule 12(b)(1) challenge to jurisdiction must be addressed first. See Morris,

739 F.3d at 745.

III. Analysis

       As a preliminary matter, Plaintiff argues that Defendant’s motion should be denied,

because “Mid-Continent does not make any standing argument that is severable from the merits

of KFA’s case.” (Resp. 5). KFA relies on Montez v. Department of Navy, 392 F.3d 147 (5th Cir.

2004), for the proposition that, in such circumstances, the court must “assume jurisdiction and

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proceed to the merits.” (Id. at 4). In other words, Plaintiff contends that Defendant’s challenge

to the court’s jurisdiction must be brought “as a direct attack on the merits of the case under

either Rule 12(b)(6) or Rule 56.”       (Id.).   However, the United States Supreme Court has

explicitly rejected the notion that a court can “assume” jurisdiction in a case for the purpose of

deciding the merits, because such an approach “carries the courts beyond the bounds of

authorized judicial action and thus offends fundamental principles of separation of powers.”

Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94-95 (1998); see Crockett v. R.J. Reynolds

Tobacco Co., 436 F.3d 529, 531 n. 1 (5th Cir. 2006) (“[T]he district court should not have

decided to bypass the jurisdictional question . . . and proceed directly to the merits.”); Cox v. City

of Dallas, 256 F.3d 281, 303 (5th Cir. 2001) (“Standing is a jurisdictional doctrine that the

Supreme Court has held must be decided before the merits of the case.”). In addition, the

holding in Montez appears to be limited to those actions that arise under federal statutes. See

Montez, 392 F.3d at 150; Houston Ref., L.P. v. United Steel, Paper, & Forestry, Rubber, Mfg.,

Energy, Allied Indus. & Serv. Workers Int’l Union, 765 F.3d 396, 407 n. 20 (5th Cir. 2014);

Jasper v. Fed. Emergency Mgmt. Agency, 414 F. App’x 649, 651-52 (5th Cir. 2011) (refusing to

assume jurisdiction, because the plaintiff did not allege any federal causes of action). For those

reasons, Rule 12(b)(1) is the appropriate procedural vehicle to utilize to resolve the jurisdictional

question in this case.

       “[T]he issue of standing is one of subject matter jurisdiction.” Cobb v. Cent. States, 461

F.3d 632, 635 (5th Cir. 2006). Standing addresses “whether the litigant is entitled to have the

court decide the merits of the dispute or of particular issues.” Warth v. Seldin, 422 U.S. 490, 498

(1975). A plaintiff must have standing under both Article III of the Constitution, and, the

applicable state law, to maintain a cause of action in the federal courts. Mid-Hudson Catskill

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Rural Migrant Ministry, Inc. v. Fine Host Corp., 418 F.3d 168, 173 (2d Cir. 2005); see PEMEX

Exploration y Produccion v. Murphy Energy Corp., 923 F. Supp. 2d 961, 965 (S.D. Tex. 2013)

(citing Crocker v. Fed. Deposit Ins. Corp., 826 F.2d 347, 349 (5th Cir. 1987)) (“In deciding

questions of law, including standing, involving claims based on state law, applicable state law

governs.”).

       The parties agree that Texas law applies in this lawsuit. (Mot. 10; Resp. 6). Under Texas

law, the controlling factor in determining whether a third party can enforce an insurance policy is

the intention of the contracting parties. Basic Capital Mgmt., Inc. v. Dynex Commercial, Inc.,

348 S.W.3d 894, 900 (Tex. 2011); Ostrovitz & Gwinn, LLC v. First Specialty Ins. Co., 393

S.W.3d 379, 388 (Tex. App.—Dallas 2012, no pet.) (citing MCI Telecomms. Corp. v. Tex. Utils.

Elec. Co., 995 S.W.2d 647, 651 (Tex. 1999)). The court must ascertain the contracting parties’

intent from the language of the policy. See Gilbert Tex. Const., L.P. v. Underwriters at Lloyd’s

London, 327 S.W.3d 118, 126 (Tex. 2010) (“First, we look at the language of the [insurance]

policy because we presume parties intend what the words of their contract say.”); Cunningham v.

Healthco, Inc., 824 F.2d 1448, 1457-58 (5th Cir. 1987) (“[I]n Texas the law is clear that one

claiming to be a third-party beneficiary succeeds or fails according to the provisions of the

contract sued upon.”).

       In Texas, insurance policies are construed according to the ordinary rules of contract

interpretation. See, e.g., State Farm Lloyd’s v. Page, 315 S.W.3d 525, 527 (Tex. 2010); Mid-

Continent Cas. Co. v. Castagna, 410 S.W.3d 445, 456 (Tex. App.—Dallas 2013, pet. denied).

The court must “examine the entire [policy] and seek to harmonize and give effect to all

provisions so that none will be meaningless.” Gilbert Tex. Const., L.P. v. Underwriters at

Lloyd’s London, 327 S.W.3d 118, 126 (Tex. 2010); see also State Farm Life Ins. Co. v. Beaston,

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907 S.W.2d 430, 433 (Tex. 1995) (“[C]ourts must be particularly wary of isolating from its

surroundings or considering apart from other provisions a single phrase, sentence, or section of a

contract.”). Further, an insurance policy should be interpreted “from a utilitarian standpoint,

bearing in mind the particular business activity sought to be served.” Certain Underwriters at

Lloyd’s of London v. Cardtronics, Inc., 438 S.W.3d 770 (Tex. App.—Houston [1st Dist.] 2014,

no pet.) (quoting Frost Nat’l Bank v. L&F Distribs., Ltd., 165 S.W.3d 310, 312 (Tex. 2005)).

“The terms in an insurance contract are given their ordinary and generally accepted meaning,

unless the policy shows that the words were meant in a technical or different sense.”

SingleEntry.com, Inc. v. St. Paul Fire & Marine Ins. Co., 117 F. App’x 933, 936 (5th Cir. 2004)

(citing New Era of Networks, Inc. v. Great N. Ins. Co., No. Civ. A. H-01-1841, 2003 WL

23573645, at *8 (S.D. Tex. Jun. 1, 2001)).

        In this case, Defendant argues that KFA lacks standing to sue under the Mid-Continent

Policies because its insured, Hallmark Collection, failed to comply with the policy’s notice-of-

suit provision. (Mot. 14 ¶ 27). Mid-Continent contends that, under the express language of its

policies, “no one has a right to sue for coverage unless all of [the policy] terms have been fully

complied with.” (Id. at 10 ¶ 21). Defendant insists that Hallmark Collection failed to provide it

with any notice of the KFA Lawsuit or request a defense in that proceeding, and, therefore, it

never triggered the insurer’s duty to defend it in that action. (Id. at 12 ¶¶ 24-25).

        In response, KFA argues that Hallmark Collection did, in fact, comply with the notice

provision, because “Mid-Continent expected notice from any named insured to be notice for all

named insureds.” (Resp. 10). Plaintiff argues, as well, that the insurer accepted and assumed a

duty to defend all named insureds, including Hallmark Collection, in its two reservation of rights

letters. (Id. at 12-13).

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       To recover under an insurance policy as a third-party judgment creditor, a plaintiff must

show that the insured complied with all conditions and terms of the policy. State Farm Lloyd’s

Ins. Co. v. Maldonado, 963 S.W.2d 38, 40 (Tex. 1998); see SingleEntry.com, Inc. v. St. Paul Fire

& Marine Ins. Co., 117 F. App’x 933, 935 (5th Cir. 2004) (“A third-party beneficiary judgment

creditor of the insured steps into the shoes of the insured.”). With regard to notice, the Texas

Supreme Court has consistently held that “an insurer has no duty to defend and no liability under

a policy unless and until the insured in question complies with th[at] [policy’s] notice-of-suit

conditions.” Jenkins v. State & Cnty. Mut. Fire Ins. Co., 287 S.W.3d 891, 897 (Tex. App.—Fort

Worth 2009, pet. denied); see, e.g., Nat’l Union Fire Ins. Co. v. Crocker, 246 S.W.3d 603, 610

(Tex. 2008)); Harwell v. State Farm Mut. Auto. Ins. Co., 896 S.W.2d 170, 174-75 (Tex. 1995;

Weaver v. Hartford Accident & Indem. Co., 570 S.W.2d 367, 370 (Tex. 1978). Further, as

explained by the court in Crocker,

Mere awareness of a claim or suit does not impose a duty on the insurer to defend under the
policy; there is no unilateral duty to act unless and until the . . . insured first requests a defense—
a threshold duty that the insured fulfills under the policy by notifying the insurer that the insured
has been served with process and the insurer is expected to answer on its behalf.

Crocker, 246 S.W.3d at 608; see Hudson v. City of Houston, 392 S.W.3d 714, 726 (Tex. App.—

Houston [1st Dist.] 2011, pet. denied) (explaining that the rule set forth in Crocker “applies

regardless of whether the insurer knows that the insured has been sued and served, regardless of

whether the insurer actually defends another insured in the same litigation, and regardless of

whether the insurer was aware of an interlocutory default judgment against the insured.”).

       The Mid-Continent Policies at issue set out explicit requirements with which an insured

must comply to secure coverage.          Under the section entitled, “Duties In The Event Of

Occurrence, Offense, Claim, or Suit,” the policy states: “If a claim is made or ‘suit’ is brought

against any insured . . . [y]ou and any other involved insured must . . . [i]mmediately send us
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copies of any demands, notices, summonses or legal papers received in connection with the

claim or ‘suit[.]’” (Mot. Ex. 7 at 20). Based on a plain reading of that policy provision, each

“involved insured” must promptly send Mid-Continent copies of the legal papers filed in a suit.

In this case, Plaintiff has not alleged, nor does the record show, that Hallmark Collection ever

complied with that requirement. Because Hallmark Collection failed to comply with the policy

notice-of-suit provision, Mid-Continent’s duty to defend was never triggered. For that reason,

under Crocker, the insurer has no liability to KFA, as a matter of law. See Nat’l Union Fire Ins.

Co. v. Crocker, 246 S.W.3d 603, 609-10 (Tex. 2008) (“Absent a threshold duty to defend, there

can be no liability to [an insured], or to [an insured’s judgment creditor] derivatively.”); Jenkins

v. State & Cnty. Mut. Fire Ins. Co., 287 S.W.3d 891, 896-97 (Tex. App.—Fort Worth 2009, pet.

denied) (“If there is no duty to defend, there is no duty to indemnify.”).

       KFA insists, however, that Hallmark Collection’s failure to provide notice is not a bar to

coverage, because the notice-of-suit provision in this case should be construed as a covenant,

rather than a condition precedent. (Resp. 13). According to KFA, under the terms of the policy,

“late notice, or no notice at all, is not a bar to coverage unless Mid-Continent was prejudiced” by

that failure. (Id. at 15). Plaintiff argues, for that reason, that Mid-Continent “can only invoke

lack of notice as a[n] [affirmative] defense by proving prejudice.” (Id. at 15).

       In Texas, an insured’s failure to comply with a notice provision in an insurance policy

does not absolve an insurer from liability, unless such lack of notice prejudices the insurer. PAJ,

Inc. v. Hanover Ins. Co., 243 S.W.3d 630, 636-37 (Tex. 2008). This rule applies regardless of

whether the notice provision is expressed as a covenant or a condition precedent to coverage.

Id.; see Prodigy Commc’ns Corp. v. Agric. Excess & Surplus Ins. Co., 288 S.W.3d 374, 378

(Tex. 2009) (“”[W]hile the Prodigy policy describes the notice provision as a ‘condition

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precedent,’ we must go further to determine whether prejudice is, or is not, required.”).      The

determination of prejudice is typically a question of fact for the jury to decide. See Coastal Ref.

& Mktg. v. United States Fid. & Guar. Co., 218 S.W.3d 279, 287 (Tex. App.—Houston [14th

Dist.] 2007, pet. denied); P.G. Bell Co. v. United States Fid. & Guar. Co., 853 S.W.2d 187, 191

(Tex. App.—Corpus Christi 1993, no writ). Under certain circumstances, however, prejudice

can be established as a matter of law. See, e.g., Liberty Mut. Ins. Co. v. Cruz, 883 S.W.2d 164,

166 (Tex. 1993) (“[A]n insurer that is not notified of suit against its insured until a default

judgment has become final . . . is prejudiced as a matter of law.”); Md. Cas. Co. v. Am. Home

Assurance Co., 277 S.W.3d 107, 119 (Tex. App.—Houston [1st Dist.] 2009, pet. dism’d)

(“[W]holly lacking notice, as opposed to merely late notice, supports a finding of prejudice as a

matter of law.”); Progressive Cnty. Mut. Ins. Co. v. Trevino, 202 S.W.3d 811, 818 (Tex. App.—

San Antonio 2006, pet. denied) (finding prejudice as a matter of law, because insured refused to

cooperate with insurer).

       In determining whether an insurer has been prejudiced, as a matter of law, “the crucial

inquiry is whether the insurer’s ability to defend against the claim has been irreparably impaired

by an insured’s failure to comply with a notice-of-suit provision.” Hudson v. City of Houston,

392 S.W.3d 714, 728 (Tex. App.—Houston [1st Dist. 2011, pet. denied). In this case, Hallmark

Collection’s notice was not merely late, but altogether absent. It is undisputed that Hallmark

Collection never requested a defense from Mid-Continent, or otherwise ever contacted the

insurer, in regard to the Underlying Action. By failing to comply with the notice provision and

requesting a defense, Hallmark Collection deprived Mid-Continent of its ability to answer and to

defend against KFA’s claims in the Underlying Action; to conduct discovery; and to fully litigate

the merits of KFA’s bankruptcy proof of claim. See Hudson, 392 S.W.3d at 729; Md. Cas. Co.,

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277 S.W.3d at 119 (“[T]he notice—provided only after the claims had been settled—was so late

that it wholly deprived Maryland of its ability to defend the lawsuit.”). Indeed, Hallmark’s

inaction resulted in the rendition of $63,471,000 judgment against its no-asset bankruptcy estate.

Plaintiff, however, argues that Mid-Continent did not suffer prejudice, because the insurer knew

that Hallmark Collection had been sued in the Underlying Action. (Resp. 11; see Mot. Ex. 1-4).

But an insurer’s actual knowledge of a claim or suit does not preclude a showing of prejudice.

Nat’l Union Fire Ins. Co. v. Crocker, 246 S.W.3d 603, 609 (Tex. 2008); Jenkins v. State & Cnty.

Mut. Fire Ins. Co., 287 S.W.3d 891, 898 (Tex. App.—Fort Worth 2009, pet. denied). On this

record, Hallmark Collection’s complete failure to comply with the notice-of-suit provision can

be said to have prejudiced Mid-Continent, as a matter of law. See Hudson, 392 S.W.3d at 729;

Jenkins, 287 S.W.3d at 899; Md. Cas. Co., 277 S.W.3d at 119; see also Crocker, 246 S.W.3d at

609 (noting that insurer “was obviously prejudiced” by insured’s complete lack of notice).

        KFA also argues that full compliance with the notice-of-suit provision is not required,

because Mid-Continent accepted and assumed a duty to defend all named insureds, including

Hallmark Collection, in each of its reservation of rights letters.10 (Resp. 12-13). Defendant, for

its part, concedes that it “offered to defend” Hallmark Design, Joe Partain, Laura Partain, and

William Graper under a reservation of rights. However, the insurer is adamant that it never

“acknowledged a duty to defend Hallmark Collection.” (Reply 11).

        In this case, even if Mid-Continent did offer to defend Hallmark Collection subject to a

reservation of rights, the insurer did not thereby waive its right to insist on full compliance with



10 Mid‐Continent insists that, under Lancer Insurance Co. v. Garcia Holiday Tours, 345 S.W.3d 50 (Tex. 2011), “KFA
has no standing to assert any purported duty of Mid‐Continent to Hallmark Collection.” (Reply 11). However,
Lancer stands only for the proposition that a judgment creditor lacks standing to bring a claim for breach of the
duty to defend against an insurer. See Lancer, 345 S.W.3d at 59. Because KFA is not making a claim for breach of
the duty to defend, that case has no relevance.
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all of the policy terms. See In re Madrid, 242 S.W.3d 563, 568 (Tex. App.—El Paso 2007, orig.

proceeding) (“By accepting the defense under a reservation of rights, the insured impliedly

agrees that the insurer does not waive coverage defenses.”); Providence Wash. Ins. Co. v. A & A

Coating, Inc., 30 S.W.3d 554, 556 (Tex. App.—Texarkana 2000, pet. denied) (“When a defense

is undertaken through a valid reservation of rights, the insurer may withdraw its defense when it

becomes clear there is no coverage under the policy.”); Ross v. Marshall, 456 F.3d 442, 443 (5th

Cir. 2007) (“An insurer who defends its insured under a full reservation of rights provides a

defense in the liability action, but reserves the right to contest coverage later.”); see also Tex.

Ass’n of Counties Cnty. Gov’t Risk Mgmt. Pool v. Matagorda Cnty., 52 S.W.3d 128, 131 (Tex.

2000) (“[A] unilateral reservation-of-rights letter cannot create rights not contained in the

insurance policy.”). In its reservation of rights letters, Mid-Continent reserved its right to deny

coverage, based on the insured’s failure to comply with “any policy condition, limitation or

term.” (Mot. Ex. 3 at 6; Resp. Ex. 4 at 6). Under Texas law, Mid-Continent is not barred from

now arguing that it had no duty to defend Hallmark Collection. 11

         Because Hallmark Collection never complied with the policy’s notice-of-suit provision,

KFA cannot recover as a judgment creditor under the Mid-Continent Policies, as a matter of law.

See Nat’l Union Fire Ins. Co. v. Crocker, 246 S.W.3d 603, 609 (Tex. 2008); State Farm Lloyds

Ins. Co. v. Maldonado, 963 S.W.2d 38, 40 (Tex. 1998). For that reason, the court should dismiss

Plaintiff’s claim for breach of contract due to lack of standing, under Rule 12(b)(1). And,



11 In support of its contention that the insurer assumed a duty to defend, Plaintiff also alleges that, during the KFA
Lawsuit, Mid‐Continent engaged in settlement negotiations on behalf of Hallmark Collection. (Resp. 12).
However, an insurer’s participation in settlement negotiations, without more, does not constitute the assumption
of the insured’s defense. See Underwriters at Lloyd’s v. Gilbert Tex. Const., L.P., 245 S.W.3d 29, 36 (Tex. App.—
Dallas 2007, no pet. h.); Am. Eagle Ins. Co. v. Nettleton, 932 S.W.2d 169, 174 (Tex. App.—El Paso 1996, writ
denied).

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because the court has no subject matter jurisdiction, there is no need to address Defendant’s other

arguments for dismissal. See Hitt v. City of Pasadena, 561 F.2d 606, 608 (5th Cir. 1977).

IV. Conclusion

       Accordingly, it is RECOMMENDED that Defendant’s motion to dismiss, under Rule

12(b)(1), be GRANTED.

       The Clerk of the Court shall send copies of the memorandum and recommendation to the

respective parties, who will then have fourteen days to file written objections, pursuant to 28

U.S.C. § 636(b)(1)(c). Failure to file written objections within the time period provided will bar

an aggrieved party from attacking the factual findings and legal conclusions on appeal. See

Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415, 1428-29 (5th Cir. 1996) (en banc).

       The original of any written objections shall be filed with the United States District Clerk,

P.O. Box 61010, Houston, Texas 77208; copies of any such objections shall be delivered to the

chambers of Judge Vanessa D. Gilmore, Room 9513, and to the chambers of the undersigned,

Room 7007.

       SIGNED at Houston, Texas, this 9th day of January, 2015.




                                      MARY MILLOY
                             UNITED STATES MAGISTRATE JUDGE




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